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                                                                              2017 Nov-03 PM 01:27
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

IN RE BLUE CROSS BLUE SHIELD                :
ANTITRUST LITIGATION                        : Master File 2:13-cv-20000-RDP
MDL 2406                                    :
                                            : This document relates to
                                            : Subscriber Track cases
                                            :


              SUBSCRIBER PLAINTIFFS’ STATUS REPORT
                ON OUTSTANDING STRUCTURED DATA

      Come now Subscriber Plaintiffs in the above-styled action and respectfully

submit this status report on outstanding structured data issues and productions to

ensure this Court remains informed of these matters, given the December 1, 2017

discovery cut-off pursuant to the Third Amended Scheduling Order (Doc. 1567).

      Subscribers have made substantial efforts to work with each of the

Defendants with outstanding structured data to resolve any production issues and

to obtain the remaining outstanding productions. For months prior to Subscribers’

Motion, Subscribers sent out letters and conducted meet and confers with all

Defendants who have not produced structured data or with whom there are

production issues.

      Since that time, Subscribers have requested that all outstanding issues be

addressed as soon as possible and that all productions be received as soon as

possible, and prior to the Thanksgiving holiday, to allow Subscriber the
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opportunity to address any production issues or insufficiencies prior to the

December 1, 2017 deadline.

                           Non-Parties Structured Data

Humana

       Humana is in process of completing its production by replacing documents

that were corrupted in the initial production.

United

       United has not produced a complete set of documents that list the plans and

pricing schedules available in the individual segment. Subscribers are working

with United to identify documents that would satisfy this request.

       Subscribers have also posed questions regarding United’s existing

production and a request for an additional group-level claims field that was

previously requested, but not provided.

Viva

       Subscribers have posed questions regarding Viva’s existing production and

requests for a supplemental claims-related facility field.

Optum

       The production of Optum’s archived (pre-2010) data is expected, but still

has not been produced.




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                          Non-Claims Structured Data

Anthem

      Since Anthem’s production after the issuance of Discovery Order No. 56,

Subscribers have been working with Anthem to investigate certain observations

that Subscribers have made with respect to Anthem’s premium data and Total

Claims Expense data. Subscribers requested a date certain for any additional data

productions, to the extent they are necessary to address these observations, prior to

the December 1, 2017 discovery cut-off. Anthem has agreed to produce certain

group data by November 20, 2017 in order to address certain of Subscribers’ data

observations. Anthem’s investigation into other areas is ongoing. Accordingly,

Anthem     has   not   determined    whether       the   observations   need   to   be

addressed. Subscribers and Anthem are continuing to work cooperatively to

resolve any issues before the discovery cut-off.

Cambia

      Throughout October 2017, Subscribers have been working with Cambia to

investigate certain observations that Subscribers have made with respect to

Cambia’s premium data and Total Claims Expense data (17e). Subscribers

requested a date certain for any additional data productions, to the extent they are

necessary to address these observations, prior to the December 1, 2017 discovery

cut-off. In at least one case Cambia has determined and explained to Subscribers

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that their observation did not indicate any issue with the data. Cambia’s

investigation into other areas is ongoing; accordingly, Cambia has not determined

whether the observations need to be addressed. Subscribers and Cambia are

continuing to work cooperatively to resolve any issues before the discovery cut-

off.

BCBSFL

       Since July, BCBSFL has been attempting to provide capitation data in

accordance with Subscribers’ request that all plans abide by Discovery Order

56. Because BCBSFL does not maintain its capitation data in the format requested

in the ordinary course of business, BCBSFL has had to work through difficult

technical issues to provide the data in an acceptable format. That work is

ongoing.   Subscribers requested a date certain for any outstanding data

productions, prior to the December 1, 2017 discovery cut-off. BCBSFL has not

yet been able to provide a date certain but believes that the data will be ready prior

to the discovery cut-off.


BCBSKC

       Since September of 2017, Subscribers identified and discussed with

BCBSKC issues encountered with BCBSKC’s Total Claims Expense data and

groups that were “not active” at the time of data extraction; however, BCBSKC

counsel represents that although BCBSKC has encountered some technical

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complications in pulling the data, BCBSKC currently believes replacement files

will be provided by the end of next week.

BCBSTN

      Subscribers have notified BCBSTN that its non-claims data production is

missing a significant portion of benefit design information. Subscribers have

requested a date certain for any solution or replacement data productions, prior to

the December 1, 2017 discovery cut-off.

CareFirst

      For the past few months, Subscribers have been working with CareFirst to

obtain production of Total Claims Expense data. On October 30, 2017, CareFirst

produced Total Claims Expense data that the Subscribers are currently

investigating.

Premera

      Since September, Subscribers have requested replacement productions with

identifiers for year, month, and group, and product and production of annual,

group-level Total Claims Expense data. Subscribers also require further guidance

for some aspects of Premera’s premiums production. According to counsel,

Premera will produce these data prior to Thanksgiving and is still investigating the

premium data issues.




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Excellus

      Since August of 2017, Subscribers have been working with Excellus’

counsel to resolve capitation issues with Excellus’ Total Claims Expense. Excellus

has agreed to provide additional files and estimates the work will take two weeks.

Triple S Salud

      To date, Subscribers have not received non-claims structured data

crosswalks to Appendix D or any structured data productions. On numerous

occasions going back to February of this year, Subscribers have reached out to

ascertain the status of the non-claims structured data productions.

      Triple S Salud filed a notice with this Court on September 27, 2017, stating

that, due to Hurricane Maria, the office operations are severely limited. (Doc.

1581). On November 2, 2017, counsel for TSS stated that the structured data

crosswalks are almost complete. Subscribers continue to work with TSS and

pursue these data prior to the December 1, 2017 discovery cut-off.

USAble

      On November 2, 2017, USAble provided two files to assist Subscribers in

identifing small versus large groups. Subscribers are reviewing these files to

determine if this solution will resolve this outstanding issue.




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                            BCBSAL Structured Data

      In response to Subscribers' October 12, 2017 Motion to Compel BCBSAL,

on October 31, 2017 Judge Putnam issued Order No. 74 requiring BCBSAL to

provide deciphering of the Coverage Code data and that the parties will need to

meet and confer to a find resolution if the Coverage Code data do not provide what

is needed. (Doc. 1659). On November 2, 2017, BCBSAL provided a list containing

descriptions for certain coverage codes and these descriptions do not identify the

specific   plan   characteristics   Subscribers   are   seeking   (e.g.,   deductible

amounts). BCBSAL counsel acknowledged this when transmitting the list stating

they “do not believe this provides the benefit plan design details [Subscribers] are

seeking.” The parties are preparing to meet and confer, as directed by this Court.

      Additionally, Subscribers requested historical data to be extracted from a

table which contains full time employee count data. Upon inspection of this file, it

is evident that only one observation exists for each group and division and any

historical information is omitted. Subscribers ask BCBSAL to produce any

historical information from this table as well. Counsel for both parties discussed

the issues on October 19, 2017 and counsel for BCBSAL promised a response by

Tuesday, October 24, 2017. As of this filing, Subscribers have not received a

response or additional productions.




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                                    Conclusion

      The Court’s Discovery Orders and Scheduling Orders require that structured

data productions be concluded. While the majority of the initial productions of

non-claims structured data have been made, analysis of the data, as it is produced

or supplemented, continues to raise several issues that need to be addressed. While

all of these issues have been raised with the producing party to the extent that they

have been revealed in the analysis, there remain several issues that must be

resolved and for which Subscriber Plaintiffs will seek the Court’s assistance at the

telephone conferences scheduled between now and the December 1, 2017 cut-off.

      Each of the parties is already aware of any issues with their data, and

Subscribers will work with them to resolve these issues and notify the Court via

weekly status reports until all issues are resolved and all productions received and

reviewed for apparent errors.




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Respectfully submitted the 3rd day of November, 2017.
                                        /s/ Christopher T. Hellums
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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served on

all counsel of record via CM/ECF.


      This 3rd day of November, 2017.

                                     /s/ Christopher T. Hellums

                                     Christopher T. Hellums

                                     Local Facilitating Counsel for Subscriber
                                     Plaintiffs




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